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1    DWIGHT M. SAMUEL (CA SB# 054486)
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     Sacramento, California 95814-2282
3    916-447-1193
4    Attorney for Defendant
     MARCUS DION BURRELL
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8
                             IN THE UNITED STATES DISTRICT COURT
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                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA, )                  No. CR-S-07-511 MCE
                                   )
13                                 )              STIPULATION AND
                       Plaintiff,  )              ORDER CONTINUING
14                                 )              STATUS CONFERENCE
           v.                      )
15                                 )
     MARCUS DION BURRELL,          )
16                                 )
                       Defendant,  )
17                                 )
     ______________________________)
18
19          It is hereby stipulated and agreed to between Marcus Dion Burrell and Michael Anthony
20   Young, by and through counsel respective counsel Dwight M. Samuel and Mike Bigelow, and
21   United States of America, by and through, Assistant United States Attorney, that the status
22   conference presently set for Thursday, September 11, 2008 at 9:00 a.m. be vacated and
23   rescheduled for a status conference on Thursday, October 9, 2008, at 9:00 a.m.
24          It is further stipulated that the period from September 11, 2008, through and including
25   October 9, 2008 be excluded in computing the time within which trial must commence under the
26   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T-4 for continuity
27   and preparation of counsel.
28
                 Case 2:07-cr-00511-MCE Document 26 Filed 09/11/08 Page 2 of 2


1    Respectfully submitted,
2
3    Dated: September 9, 2008
4                                                           /s/ Dwight M. Samuel
                                                            DWIGHT M. SAMUEL
5                                                           Attorney for Defendant, Marcus Burrell
6    Dated: September 9, 2008
7                                                           /s/ Michael Bigelow1
                                                            MICHAEL BIGELOW
8                                                           Attorney for Defendant, Michael Young
     Dated: September 9, 2008
9
10
                                                            /s/ Mike Beckwith2
11                                                          MIKE BECKWITH
                                                            Assistant United States Attorney
12
13
14   IT IS SO ORDERED.
15
16    Dated: September 10, 2008

17                                                     ________________________________
                                                       MORRISON C. ENGLAND, JR.
18                                                     UNITED STATES DISTRICT JUDGE
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27          1
                Signed per telephonic authorization.

28          2
                Signed per telephonic authorization.
